Case 3:18-cv-00080-RP-SBJ Document 1-2 Filed 08/06/18 Page 1 of 3




                      EXHIBIT B
        Case 3:18-cv-00080-RP-SBJ Document 1-2 Filed 08/06/18 Page 2 of 3



From: Kutcher, Andrew M
Sent: Friday, June 1, 2018 3:09 PM
To: Borbon, Tiffany Yue-Fei
Subject: Registered Student Organization Compliance - Action Required

 NOTE: This communication is being sent to all Primary and Secondary Representatives, and Advisors,
as they are listed on a Registered Student Organization’s (RS0) OrgSync portal. YOUR ATTENTION AND
IMMEDIATE ACTION IS REQUIRED.

Dear Tiffany,
The Center for Student Involvement and Leadership (CSIL) has identified that the constitution of
InterVarsity Graduate Christian Fellowship either does not include the current language related to the
University of Iowa Human Rights Clause or it is missing in its entirety. All RSOs are required to have this
Clause included verbatim in their constitution or bylaws.

Human Rights Clause:

In no aspect of its programs shall there be any difference in the treatment of persons on the
basis of race, creed, color, religion, national origin, age, sex, pregnancy, disability, genetic
information, status as a U.S. veteran, service in the U.S. military, sexual orientation, gender
identity, associational preferences, or any other classification which would deprive the person of
consideration as an individual. The organization will guarantee that equal opportunity and equal
access to membership, programming, facilities, and benefits shall be open to all persons. Eighty
percent (80%) of this organization’s membership must be composed of UI students.
Your RSO must update your current governing documents to include the required Human Rights Clause
to continue as a RSO now and in the future. Additionally, RSO governing documents may not include
language that is considered contradictory to the Human Rights Clause. Any language considered
contradictory, must be removed. Once you have made this update, you must submit all governing
documents to CSIL using the form linked here: https://orgsync.com/14241/forms/311661

If you have language in your constitution or bylaws that is outdated, often found in the membership
section, you simply need to remove the old language and insert the required new language listed above.
If you realize you do not have any part of the Human Right Clause, it needs to be inserted VERBATIM,
within the membership section.

The deadline to submit changes is June 15, 2018, or your RSO will be de-registered. If de-registered,
registration can be reinstated by submitting governing documents with required language to CSIL, using
the link above. RSOs will receive feedback on their updates, and the submitting person will be updated
via email if additional changes are required.

We recognize many RSOs require a vote of the membership to ratify governing documents. We ask you
to insert the Human Rights Clause into your governing documents with the understanding you will hold
a vote of confirmation once the fall semester commences. If allowed by your constitution or bylaws, you
may hold an electronic vote of confirmation immediately.

Please see the FAQs for more information.
        Case 3:18-cv-00080-RP-SBJ Document 1-2 Filed 08/06/18 Page 3 of 3



Thank you for your attention and timely action to address this issue. Please to contact to CSIL staff at
csil-student-org@uiowa.edu should you have any questions.

Andy Kutcher

 Andy Kutcher, M.Ed.
 he, him, his

 Coordinator for Student Organization Devleopment
                                                                       145 Iowa Memorial Union
 Center for Student Involvement & Leadership
                                                                       Iowa City, Iowa 52242-1317
 andrew-kutcher@uiowa.edu
                                                                       319-335-3059 Fax 319-353-2245
 http://csil.uiowa.edu
                                                                       getinvolved@uiowa.edu
  Adaptability | Harmony |Positivity | Consistency | Arranger

Schedule an appointment with me



Notice: This UI Health Care e-mail (including attachments) is covered by the Electronic Communications
Privacy Act, 18 U.S.C. 2510-2521 and is intended only for the use of the individual or entity to which it is
addressed, and may contain information that is privileged, confidential, and exempt from disclosure
under applicable law. If you are not the intended recipient, any dissemination, distribution or copying of
this communication is strictly prohibited. If you have received this communication in error, please notify
the sender immediately and delete or destroy all copies of the original message and attachments
thereto. Email sent to or from UI Health Care may be retained as required by law or regulation. Thank
you.
